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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                               Norfolk Division


UNITED STATES OF AMERICA,

v.
                                                               Case No. 2:24mj211

BRAD KENNETH SPAFFORD,

            Defendant.

           RESPONSE TO MOTION TO REVOKE RELEASE ORDER


       Comes now the Defendant, Brad Kenneth Spafford, by and through undersigned

counsel and objects to the Government’s Motion for Revocation of Release Order (ECF

19). The defense respectfully requests that the court order Mr. Spafford’s immediate

release from custody on the conditions set by the Honorable United States Magistrate

Judge Lawrence R Leonard. Mr. Spafford was charged by a single count criminal

complaint with Possession of a Firearm in Violation of the National Firearms Act, in

violation of 26 U.S.C. § 5861(d). (ECF 3, 4). He has been held in custody since his arrest.

       On December 30, 2024 Judge Leonard presided over the preliminary hearing and

detention hearing. Judge Leonard found probable cause to support the complaint. There

was no allegation or evidence offered by the government that Mr. Spafford used the gun,

which was the object of the criminal complaint, to commit a crime or that he ever

threatened to use that gun in the commission of any crime. Judge Leonard next carefully

considered the factors set out in 18 U.S.C. § 3142(g) and ordered that Mr. Spafford be
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released with conditions, including house arrest with electronic monitoring, third-party

custody, and an unsecured bond of $25,000. (ECF 17).

         “In our society liberty is the norm, and detention prior to trial or without trial is the

carefully limited exception.” United States v. Salerno, 481 U.S., 739, 755 (1987).

Under the Bail Reform Act and the Constitution, an accused individual has a right to be

released pending trial absent extraordinary circumstances. See 18 U.S.C. § 3142.

Accordingly, Judge Leonard considered the enumerated factors and determined that

conditions could be imposed that would ensure that Mr. Spafford would attend court as

required and would not constitute a danger to the community. Mr. Spafford is 36 years

old. He is married and lives with his wife and two children in a home which they recently

purchased. He has worked at his current place of employment for nine years. He has no

criminal record and no history of substance abuse or mental illness.

         The government argues that Mr. Spafford should be detained because he poses a

danger to the community in spite of the fact that the government has been investigating

and carefully watching Mr. Spafford for approximately two years through the use of a

confidential human source who was a friend and confidant of Mr. Spafford. During all of

that time, there is no evidence or allegation that Mr. Spafford committed or attempted to

commit any act of violence. There was no evidence introduced that Mr. Spafford is a

danger to the community and in fact, the evidence showed he had never used any

explosive device, never threatened to use one, and never threatened any individual or

group.     Additionally, there was no evidence that Mr. Spafford had the means or
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equipment necessary to explode the devices. The evidence was that professionally trained

explosive technicians had to rig the devices to explode them.

       I.     There was no evidence that Mr. Spafford did anything other than make

              some ill-advised comments about the government and political leaders that

              are not illegal and are protected by the 1st Amendment.    Using a likeness

              of a political leader as a target at a shooting range is a common practice and

              not a reason to incarcerate someone.

       II.    The United States’ position that Mr. Spafford is a danger is rank

              speculation and fear mongering. There is not a shred of evidence in the

              record that Mr. Spafford ever threatened anyone and the contention that

              someone might be in danger because of their political views and comments

              is nonsensical. In fact, the evidence proved that Mr. Spafford is not a

              danger but a hard-working family man with no criminal record.

       This is not a presumption case. Mr. Spafford’s pretrial risk assessment score

places him in Category 1 out of 5 risk categories. The pretrial service report

recommended release (ECF 14).      Judge Leonard imposed significant conditions for Mr.

Spafford’s release including that he be confined in his mother’s home with electronic

monitoring and only allowing him to leave that home for limited and specific purposes.

       The defense requests that the court deny the government’s motion to revoke

release and act expeditiously to release Mr. Spafford.


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                                           Respectfully submitted,

                                                /s/
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of December 2024, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to:

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